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 4   Attorney for EFRAIN VERA LOPEZ
 5
 6                                       UNITED STATES DISTRICT COURT
 7                                     EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,                  )                         No. CR F 04-5327 AWI
                                                )
10                        Plaintiff,            )                         STIPULATION AND ORDER TO
                                                )                         RELEASE COLLATERAL
11                 vs.                          )                         SECURING PROPERTY BOND
                                                )
12   EFRAIN VERA LOPEZ,                         )
                                                )
13                        Defendant.            )
     __________________________________________ )
14
                        IT IS HEREBY STIPULATED by and between the parties hereto, namely
15
     Efrain Vera Lopez, through his attorney, Daniel A. Bacon, and the United States of
16
     America, through its attorney, Assistant United States Attorney Laurel J. Montoya, that the
17
     property located at 3770 West Barstow, No. 143, Fresno, California 93722, owned by
18
     Efrain Vera, legally described as “Lot 160 of Tract No. 3402, Sunrise Meadows, according
19
     to the map thereof recorded in Book 39 pages 35, 36 and 37 of Plats, Fresno County
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     Records,” APN 415-570-03, can be released by the Clerk of the United States District
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     Court for the Eastern District of California as collateral for the property bond release of
22
     Efrain Vera Lopez.
23
     Dated: January 26, 2007.                                  /s/ Daniel A. Bacon
24                                                             DANIEL A. BACON, Attorney for
                                                               EFRAIN VERA LOPEZ
25
     Dated: January 26, 2007.                                  McGREGOR SCOTT, United States Attorney
26
                                                               By: /s/ Laurel J. Montoya
27                                                             LAUREL J. MONTOYA, Assistant U.S. Attorney
28
     Stipulation and Order to Release Collateral Securing Property Bond
                                                                                                        1
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 1                                                            ORDER
 2                      It having been stipulated by the parties hereto, and good cause appearing
 3   therefor,
 4                      IT IS HEREBY ORDERED that the Clerk of the United States District Court
 5   for the Eastern District of California shall issue a Deed of Reconveyance and thereby
 6   release the property located at 3770 West Barstow, No. 143, Fresno, California 93722,
 7   owned by Efrain Vera, legally described as “Lot 160 of Tract No. 3402, Sunrise Meadows,
 8   according to the map thereof recorded in Book 39 pages 35, 36 and 37 of Plats, Fresno
 9   County Records,” APN 415-570-03, to its owner, Efrain Vera. This Deed of Reconveyance
10   shall release the security and collateral established by that Deed of Trust with Assignments
11   of Rents recorded with the Fresno County Recorder on February 9, 2005 as Document No.
12   20050031339.
13
14   IT IS SO ORDERED.
15   Dated:        January 26, 2007                                /s/ Anthony W. Ishii
     0m8i78                                                  UNITED STATES DISTRICT JUDGE
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     Stipulation and Order to Release Collateral Securing Property Bond
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